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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                  Debtors.                           )           Jointly Administered
                                                     )

            DEBTORS’ MOTION TO DISMISS BANKRUPTCY CASES
       FOR CAUSE PURSUANT TO 11 U.S.C. § 1112(B) AND, IN CONNECTION
    THEREWITH, FOR AUTHORIZATION TO MAKE CERTAIN DISBURSEMENTS
                 AND TO EXCUSE ESTATE PROFESSIONALS
          FROM THE REQUIREMENT OF FILING FEE APPLICATIONS

             Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC,

Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2 LLC, Babalu, LLC,

and Babalu Birmingham #1 LLC (collectively, the “Debtors”), debtors and debtors-in-possession

in the above-captioned bankruptcy cases, file Debtors’ Motion to Dismiss Bankruptcy Cases for

Cause Pursuant to 11 U.S.C. § 1112(b) and, in Connection Therewith, for Authorization to Make

Certain Disbursements and to Excuse Estate Professionals from the Requirement of Filing Fee

Applications (the “Motion”) pursuant to 11 U.S.C. § 1112(b) and applicable law, seeking entry

of an order substantially in the same form as Exhibit A: dismissing the Bankruptcy Cases

(defined below) for cause effective as of December 31, 2019, and, in connection therewith,

authorizing the Debtors to disburse their Remaining Cash (defined below) to Origin Bank and

various holders of administrative expense claims, and excusing estate professionals from the




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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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requirement of filing fee applications.        In support of the Motion, the Debtors respectfully

represent the following:

                                   JURISDICTION AND VENUE

             1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).

                                           BACKGROUND

             A. General Background

             2.    On July 30, 2019 (the “Petition Date”) the Debtors each commenced voluntary

cases (the “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United States Code

(the “Bankruptcy Code”).

             3.    The Debtors have continued in possession of their properties and have continued

to operate and manage their respective businesses as debtors-in-possession pursuant to

Sections 1107(a) and 1108 of the Bankruptcy Code.

             4.    As of the date of this Motion, no request has been made for the appointment of a

trustee or examiner.

             5.    On August 21, 2019, the United States Trustee filed a Notice of Appointment of

Committee [Docket No. 71] forming the Official Committee of Unsecured Creditors

(the “Committee”) in these Bankruptcy Cases.

             6.    Additional information about the Debtors’ businesses and the events leading up to

the commencement of the Bankruptcy Cases can be found in the Declaration of Ned Lidvall,

Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders

[Docket No. 5] (the “Lidvall Declaration”), which is incorporated herein by reference.



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             B. DIP Financing

             7.    On August 20, 2019, the Court entered a Final DIP Order in these Bankruptcy

Cases [Docket No. 69] as amended by that certain Amended Final DIP Order [Docket No. 103]

(the “Final DIP Order”), which, among other things, authorized the Debtors to use cash collateral

and the proceeds of a post-petition loan (the “DIP Loan”) from Origin Bank pursuant to a

budget, which was attached as Exhibit C (the “Budget”) to the Debtors’ DIP Financing Motion

[Docket No. 16].

             8.    Paragraph 16 of the Final DIP Order provides that it shall be a default under the

DIP Order if the Debtors fail to: (i) file a bidding procedures motion with or without a stalking

horse on or before September 10, 2019; (ii) obtain entry of a bidding procedures order within

twenty-four (24) days of Debtors’ filing of the bidding procedures motion; (iii) obtain entry of an

order approving the sale of all or substantially all of the Debtors’ assets on or before

October 18, 2019, or (iv) close a sale of all or substantially all of the Debtors’ assets on or before

October 27, 2019. See Final DIP Order at ¶ 16.

             9.    Paragraph 16 of the Final DIP Order also provides it shall be a default under the

DIP Order unless on or before thirty (30) days after the date of closing of a sale of substantially

all of their assets, and no later than December 1, 2019, the Debtors have not filed: (1) a motion to

convert the Bankruptcy Cases to cases under Chapter 7 of the Bankruptcy Code, (2) a motion to

dismiss the Bankruptcy Cases, or (3) a plan of reorganization subject to Origin Bank’s approval

and consent providing for payment in full by December 31, 2019, of all amounts due to Origin

Bank then remaining unpaid, including all amounts owed under the DIP Loan and the Debtors’

pre-petition obligations to Origin Bank, with entry of a final order confirming such plan of

reorganization on or before December 31, 2019. See Final DIP Order at ¶ 16.



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             10.   As a condition of the DIP Loan, the Debtors have waived the ability to challenge

the extent, validity, or priority of Origin Bank’s claims and liens, and have further agreed that

upon maturity or an event of default under the Final DIP Order, Origin Bank shall be entitled to

relief from the automatic stay to exercise its rights and remedies under its loan agreements with

the Debtors. See Final DIP Order at ¶¶ G and 12(b).

             11.   Paragraphs 26 and 27 of the Final DIP Order further provide parties in interest,

including the Committee, with 90 days from the Petition Date (the “Challenge Deadline”) to

challenge the extent, validity, or priority of Origin Bank’s claims and liens (a “Challenge

Action”), and provide that any party in interest that fails to file a Challenge Action by the

Challenge Deadline shall be forever barred from asserting a Challenge Action against Origin

Bank. See Final DIP Order at ¶¶ 26 and 27.

             12.   No creditor or party in interest, including the Committee, filed a Challenge Action

against Origin Bank by the Challenge Deadline. Accordingly, it is undisputed that Origin Bank

holds a first priority lien in all of the Debtors’ assets (including the proceeds of the sales

discussed below), except for Chapter 5 avoidance claims2 and subject to the Carve-Out (as such

term is defined in the Final DIP Order). See Final DIP Order at ¶¶ 7-8, 10, and 14.

             13.   On October 30, 2019, the Debtors filed a Stipulation Related to Subsequent

Budget [Docket No. 188] (the “Budget Stipulation”) wherein Origin Bank agreed to allow the

Debtors pay certain additional administrative expenses out of its cash collateral pursuant to a

budget attached to the Budget Stipulation as Exhibit A (the “Subsequent Budget”).



2
         Origin Bank maintains its lien on the DIP Collateral (as defined in the Final DIP Order), which includes
Chapter 5 avoidance claims (but subject to marshalling), as security for the payment of Origin Bank’s attorneys’
fees as expenses, to the extent such fees and expenses are allowable under the DIP Loan Agreement, the Final DIP
Order, and Section 506(b) of the Bankruptcy Code. See Final DIP Order at ¶ 7; Budget Stipulation at ¶ 1.
Additionally, Origin Bank maintains its lien in the DIP Collateral to the extent of diminution in value of Origin
Bank’s Pre-Petition Liens in accordance with the terms of the Final DIP Order. See Final DIP Order at ¶ 10.

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             C. Retention of Professionals and Related Administrative Expenses

             14.   On July 30, 2019, the Debtors filed an Application [Docket No. 17] (the “Omni

Application”) to retain Omni Management Group, Inc. (“Omni”) as their claims, noticing, and

administrative agent in the Bankruptcy Cases. On August 29, 2019, the Court entered an order

approving the Omni Application [Docket No. 84]. As set forth in the Omni Application, Omni is

currently holding a retainer in the amount of $5,000 (the “Omni Retainer”).

             15.   On July 30, 2019, the Debtors filed an Application [Docket No. 19]

(the “AGG Application”) to retain Arnall Golden Gregory LLP (“AGG”) as their bankruptcy

counsel in the Bankruptcy Cases. On August 28, 2019, the Court entered an order approving the

AGG Application [Docket No. 78]. As set forth in the AGG Application, AGG is currently

holding a retainer in the amount of $93,640 (the “AGG Retainer”).

             16.   On July 30, 2019, the Debtors filed an Application [Docket No. 20]

(the “GGG Application”) to retain GGG Partners, LLC (“GGG”) as their financial advisor in the

Bankruptcy Cases.         On August 28, 2019, the Court entered an order approving the GGG

Application [Docket No. 79]. As set forth in the GGG Application, GGG is currently holding a

retainer in the amount of $58,670 (the “GGG Retainer”).

             17.   On August 1, 2019, the Debtors filed an Application [Docket No. 20]

(the “SWTW Application”) to retain Schulten Ward Turner & Weiss, LLP (“SWTW”) as their

conflicts counsel in the Bankruptcy Cases. On August 28, 2019, the Court entered an order

approving the SWTW Application [Docket No. 80]. As set forth in the SWTW Application,

SWTW is currently holding a retainer in the amount of $5,675 (the “SWTW Retainer”; together

with the Omni Retainer, the AGG Retainer, the GGG Retainer, and the SWTW Retainer,

the “Retainers”).



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             18.      On August 30, 2019, the Committee filed an Application [Docket No. 85]

(the “S&W Application”) to retain Scroggins & Williamson, P.C. (“S&W”) as its attorneys in

the Bankruptcy Cases. On September 4, 2019, the Court entered an order approving the S&W

Application [Docket No. 100] subject to objections.3

             19.      As of the date of this Motion, pursuant to General Order No. 26-2019 governing

Complex Chapter 11 Cases, which among other things, establishes interim compensation

procedures for professionals in cases that are designated as complex Chapter 11 cases in this

Court, including notice procedures for interim fee statements to certain parties (the “Interim

Compensation Procedures”), and in accordance with the Budget, since the Petition Date the

Debtors have paid: (i) Omni $21,015.22 in fees and expenses, (ii) AGG $281,734,73 in fees and

expenses, (iii) GGG $222,916.16 in fees and expenses, (iv) SWTW $36,744.26 in fees and

expenses, and (iv) S&W $22,500 in fees and expenses.

             20.      The Debtors estimate that as of the date that the Court considers this Motion,

without application of the Retainers, and after accounting for the payments previously made in

accordance with the Interim Compensation Procedures, Final DIP Order, and the Budget, the

Debtors will owe: (i) Omni approximately $20,000 in fees and expenses, (ii) AGG

approximately $126,000 in fees and expenses, (iii) GGG approximately $50,000 in fees and

expenses,          (iv)     SWTW         approximately         $15,000       in     fees   and   expenses,   and

(iv) S&W approximately $7,000 in fees and expenses, representing total fees and expenses due

to estate professionals of approximately $218,000 (the “Professional Fee Administrative

Expense Claim”).

             21.      On October 8, 2019, the Debtors filed a Motion to Establish a Bar Date for Filing

Proof of Claims in these Bankruptcy Cases [Docket No. 148], and on October 28, 2019, the
3
             No creditor or party in interest filed an objection to the S&W Application.

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Court entered an Order approving that motion [Docket No. 185], which established

November 29, 2019 by 5:00 p.m. (Eastern) (the “Bar Date”) as the last day for all creditors and

interest holders to file proofs of claim in these Bankruptcy Cases, including claims under

Section 503(b)(9) of the Bankruptcy Code.

             22.   On October 8, 2019, the Debtors filed a Motion to Establish a Bar Date for Filing

Requests for Administrative Expense Claims in these Bankruptcy Cases [Docket No. 149], and

on October 28, 2019, the Court entered an Order approving that motion [Docket No. 184], which

established November 29, 2019 by 5:00 p.m. (Eastern) (the “Administrative Expense Claim Bar

Date”) as the last day for all creditors and parties in interest, with certain limited exceptions

(including an exception for estate professionals), to file a request for an administrative expense

claims in these Bankruptcy Cases.

             23.   Based on disbursements to date and the disbursements anticipated to be made if

this Motion is granted, the Debtors anticipate that they will owe the Office of the United States

Trustee $50,000 in fees for fourth quarter disbursements (the “UST Fees”).

             24.   As of the date of this Motion, no creditor or party in interest has filed a request for

payment of an administrative expense in these Bankruptcy Cases.4 Therefore, other than the

Professional Fee Administrative Expense Claim and the UST Fees, as of the date of this Motion,

the Debtors are not aware of any material post-petition obligations to creditors or vendors, and

anticipate that such expenses will not exceed the amounts for such categories set forth in the

Budget and the Subsequent Budget.




4
        S.A.R. Associates, Inc. filed a motion requesting the payment of an administrative expense claim, but later
withdrew that motion. See Docket Nos. 86 and 193.

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             D.    Sales of the Debtors’ Assets and Disbursement of Sale Proceeds

             25.   On September 10, 2019, the Debtors filed a Bidding Procedures and Sale Motion

[Docket No. 110] (the “Bidding Procedures Motion”) seeking, among other things, entry of an

order approving bidding procedures related to the sale of all or substantially all of the Debtors’

assets free and clear of liens, claims, interest, and encumbrances, and to establish procedures for

the assumption and assignment of various executory contracts and unexpired leases.

             26.   On September 27, 2019, this Court entered an Order [Docket No. 135] (the “Bid

Procedures Order”), which, among other things, approved the bid procedures relief requested in

the Bidding Procedures Motion.

             27.   As set forth in the Bidding Procedures Motion, the Debtors negotiated a proposed

transaction with Balu Holdings, LLC (the “Stalking Horse Bidder”), wherein the Stalking Horse

Bidder agreed to purchase substantially all of the Debtors’ assets, subject to Court approval and

higher and better bids, pursuant to an Asset Purchase Agreement, dated September 9, 2019, by

and among the Stalking Horse Bidder and certain of the Debtors (the “Stalking Horse APA”).

             28.   Pursuant to the Bidding Procedures Order, Eat Here Brands, LLC and Babalu

Atlanta #2 LLC entered into an Asset Purchase Agreement with CPVR Mid-Continent, LLC

dated as of October 10, 2019, related to certain assets that were not being purchased under the

Stalking Horse APA (the “APA”).

             29.   On October 18, 2019, the Court entered a Sale Order approving the proposed sale

outlined in the Stalking Horse APA [Docket Nos. 169] (the “Sale Order”), and a second Sale

Order approving the proposed sale outlined in the APA [Docket No. 170] (the “Atlanta #2 Sale

Order”).




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             30.     On October 24, 2019, the Debtors closed the sale of the Debtors’ assets identified

in the Stalking Horse APA (the “Sale”) and transferred those assets to the Stalking Horse Bidder,

generating gross cash sale proceeds totaling $3,655,949.96. On October 25, 2019, the Debtors

closed the sale of the Debtors’ assets identified in the APA (the “Atlanta #2 Sale”) and

transferred those assets to CPVR Mid-Continent, LLC, generating gross cash sale proceeds

totaling $31,000. The total net sale proceeds from the two sales were $3,608,676.28.

             31.     Paragraph 14 of the Sale Order provides:

             Unless previously paid in full in accordance with the Budget 5 or the consent of
             Origin Bank, (i) the Debtors shall segregate from the proceeds of the sale at
             Closing the remaining amount necessary pay all PACA claimants the amounts set
             forth in the PACA Notice6 in full, and (ii) within five (5) business days of
             Closing, the Debtors shall pay each such PACA claimant, from such proceeds of
             the Sale, the amount necessary to pay such PACA claimant in full the amount set
             forth for it in the PACA Notice.

In accordance with the Final DIP Order and this provision of the Sale Order, on October 24,

2019, the Debtors disbursed $160,685.37 to the holders of the PACA claims set forth in the

PACA Notice, with $46,596.37 of such amount being paid from the proceeds of the Sale.

             32.     Paragraph 15 of the Sale Order further provides:

             Within five (5) business days of Closing, the Debtors shall pay origin Bank the
             amount necessary to repay the DIP Loan Obligation in full. Within two (2)
             business days after the later of the Closing and the expiration of the Challenge
             Period (as such term is defined in the Final DIP Order), the Debtors shall pay all
             of the remaining proceeds of the Sale toward the satisfaction of the Pre-Petition
             Obligations (as defined in the Final DIP Order) less (1) the payments to PACA
             claimants set forth in the preceding paragraph, (2) the payment of the DIP Loan
             Obligation in (i) of this paragraph, (3) an amount equal to all unpaid
             administrative expenses set forth in the Budget (but only to the extent that the
             Debtors have insufficient cash on hand to pay such expenses, and not to exceed

5
             The Budget provides for the payment of $121,589 in PACA claims.
6
        Pursuant to the Court’s PACA Order [Docket No. 123], on October 14, 2019, the Debtors filed a PACA
Notice [Docket No. 159] (the “PACA Notice”), which identified PACA claims totaling $160,685.37. Pursuant to
paragraph 6 of the PACA Order, and by virtue of the PACA Notice, Origin Bank and the Committee had three days
from the date of the PACA Notice to object to the PACA claim amounts set forth in the PACA Notice. Neither
Origin Bank nor the Committee filed a timely objection to the amounts set forth in the PACA Notice.

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             $200,000), and (4) $500,000. Any remaining funds not disbursed in accordance
             with this Order shall be held by Debtors and shall only be disbursed in accordance
             with a Subsequent Budget (as such term is defined in the Final DIP Order) or
             pursuant to a plan or further order of the Court.

In accordance with the Sale Order, on October 24, 2019, the Debtors disbursed $1,207,991.04 to

Origin Bank from the proceeds of the Sale, which paid the principal balance and all accrued

interest due under the DIP Loan.7               On October 29, 2019, the Debtors disbursed another

$1,614,653.878 to Origin Bank from the proceeds of the Sale.

             33.    After making the disbursements to Origin Bank that were authorized under the

Sale Order and the Atlanta #2 Sale Order, and after paying budgeted administrative expenses,

as of November 18, 2019, the Debtors currently have $663,216.11 (an amount totaling

$163,216.11 in two accounts and an amount totaling $500,000 in another account) in proceeds of

the Sale (the “Remaining Cash”).              Pursuant to the Final DIP Order, the Budget and the

Subsequent Budget, the Debtors are currently authorized to spend up to an additional

$402,966.11          of   the   Remaining        Cash      to    pay     various      administrative       expenses

(including professional fees) identified in the Budget and the Subsequent Budget.

                                 REQUEST AND BASIS FOR RELIEF

             A. Dismissal of these Bankruptcy Cases is in the Best Interests Creditors and the
                Bankruptcy Estates

             34.    A Chapter 11 bankruptcy case may be dismissed or converted under

Section 1112(b) of the Bankruptcy Code for “cause” on a motion of a party in interest.

Section 1112(b)(1) of the Bankruptcy Code, provides in relevant part:

7
         Origin Bank maintains that notwithstanding this payment it may be entitled to post-petition attorneys’ fees
under the DIP Loan.
8
         Of this amount $31,000 comes from proceeds from the Atlanta #2 Sale. Paragraph 14 of the Atlanta #2
Sale Order provides “[w]ithin five (5) business days of Closing, the Debtors shall transfer all of the proceeds of the
Sale of the Acquired Assets to Origin Bank toward the satisfaction of the Pre-Petition Obligations (as defined in the
Final DIP Order).” In accordance with this provision of the Atlanta #2 Sale Order, on October 29, 2019, the Debtors
disbursed $31,000 to Origin Bank.

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             Except as provided in paragraph (2) and subsection (c), on request of a party in
             interest, and after notice and a hearing, the court shall convert a case under this
             chapter to a case under chapter 7 of this title or dismiss a case under this chapter,
             whichever is in the best interest of creditors and the estate, for cause unless the
             court determines that appointment under section 1104(a) of a trustee or an
             examiner is in the best interests of creditors and the estate.

11 U.S.C. § 1112(b)(1) (emphasis added).

             35.    Section 1112(b)(4) of the Bankruptcy Code enumerates a non-exhaustive list of

what constitutes cause under Section 1112(b).                     See In re Trumbull Memorial Hospital

Foundation, 444 B.R. 848, 855-56 (Bankr. N.D. Ohio 2011) (“Although the list of cause in §

1112(b)(4) includes sixteen examples, such list is non-exhaustive,” and noting that Section

1112(b)(4) provides a list of “examples of cause that a party other than a debtor would usually

cite as grounds for dismissal.”) (emphasis added); see also In re Products Int’l Co., 395 B.R.

101, 109-10 (Bankr. D. Ariz. 2008) (reasoning that BAPCPA’s insertion of word “and” for the

word “or” in Section 1112(b)(4) appears to be a scrivener’s error, and holding that “[t]his Court

concludes that the items listed in Subsection (b)(4), under the term ‘cause,’ are not exhaustive

and shall read the list in the disjunctive, utilizing the term ‘or,’ rather than ‘and,’ in considering

whether cause has been shown.”).

             36.    Although      Section     1112(b)        is     generally   utilized   by    creditors,

“[n]othing in § 1112(b) prohibits a debtor from moving for dismissal of its own case.” See

Trumbull, 444 B.R. at 855 (reasoning debtor in possession is a party in interest for purposes of

Section 1112(b)); In re Manawa Implement & Service, Inc., 1988 WL 1571426, *2 (Bankr. S.D.

Iowa 1988) (“In the case at bar, cause exits to dismiss because Debtor has made substantial

accommodations with all creditors and is now back to financial success. Further, it is in the best

interests of creditors to dismiss the case and let Debtor move forward in order to begin paying

back its debts.”). However, the Supreme Court has warned that it is impermissible for the


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bankruptcy court to approve a structured dismissal of a Chapter 1l case when doing so would

allow a debtor to make distributions in contravention of the priority scheme of the Bankruptcy

Code without the consent of the impacted creditors. See Czyzewski v. Jevic Holding Corp.,

137 S. Ct. 973, 983 (2017).

             37.   The Debtors do not have sufficient assets to fund a Chapter 11 plan that would

repay Origin Bank’s pre-petition first priority secured claims in full. Accordingly, the Debtors

cannot fund a Chapter 11 plan in these Bankruptcy Cases without triggering a default under the

Final DIP Order. Additionally, the Debtors’ cannot realistically confirm a Chapter 11 plan over

Origin Bank’s objection. Further, upon a default under the Final DIP Order, Origin Bank would

be entitled to relief from the automatic stay to exercise all of its rights and remedies with respect

to its collateral, including cash collateral. Accordingly, the Debtors do not have a realistic

prospect of presenting, much less confirming, a Chapter 11 plan in these Bankruptcy Cases.

             38.   Moreover, given the fact that Origin Bank holds an undisputed first priority lien

(subject only to the Carve-Out) in all of the Debtors’ assets (other than Chapter 5 claims and

claims against the Debtors’ officers and directors), the possibility of unpaid administrative

expense claims under section 503(b)(9) of the Bankruptcy Code or other priority claims, and the

lack of available funding to thoroughly investigate or pursue potential avoidance actions or

claims against officers and directors, it appears unlikely that either the Debtors, a Chapter 7

trustee or a liquidating agent under a Chapter 11 plan would be able to generate sufficient

revenue in excess of their own professional fees and expenses to make a meaningful distribution

to pre-petition unsecured creditors consistent with the priority scheme of the Bankruptcy Code.9

In the same vein, Committee counsel has conducted a limited review of potential avoidance

9
         Even if there were a distribution to unsecured creditors, Origin Bank itself would be the largest single
beneficiary of any recovery for unsecured creditors because of the size of its deficiency claim.


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action claims, potential claims against the Debtors’ officers and directors, and relevant caselaw

involving, among other things, standing to bring claims against the officers and directors of a

Delaware limited liability company (such as Eat Here Brands, LLC), and has represented to

Debtors’ counsel that the Committee does not intend to seek standing to pursue those claims, and

that the Committee does not oppose the dismissal of these Bankruptcy Cases or the other relief

requested in this Motion.

             39.   Further, Origin Bank has represented in open court that it opposes conversion, and

it would be inequitable to Origin Bank if the Court were to convert these Bankruptcy Cases to

Chapter 7 cases, and therefore potentially subject Origin Bank to delay and an unnecessary

Chapter 7 trustee commission.

             40.   Finally, the amounts identified in the Budget and the Subsequent Budget should

provide the Debtors with sufficient cash flow to promptly pay their anticipated administrative

expenses, including U.S. Trustee fees and most professional fees – many of which likely would

not be paid if the Bankruptcy Cases were converted to Chapter 7 cases.10                          The remaining

payments under the Budget and the Subsequent Budget are being made out of Origin Bank’s

collateral to pay post-petition administrative expenses, and not junior claims. Accordingly, the

Debtors are not seeking to pay any creditors in contravention of the priority scheme of the

Bankruptcy Code, and the proposed dismissal does not violate the Supreme Court’s decision in

Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973 (2017). Thus, for all of the foregoing reasons,

the Debtors respectfully submit that “cause” exists to dismiss these Bankruptcy Cases under




10
        It will be necessary for certain estate professionals to apply the Retainers to pay certain outstanding fees
and expenses that exceed the amounts allocated for those expenses in the Budget and the Subsequent Budget.
Counsel for the Committee does not have such a retainer.


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Section 1112(b) and applicable law, and that the proposed dismissal is in the best interests of the

Debtors’ bankruptcy estates and their creditors.

             B. The Requested Disbursements are Appropriate.

             41.      As set forth herein, Origin Bank has an undisputed first priority lien in all of the

Debtors’ assets, except for Chapter 5 avoidance claims11 and subject to the Carve-Out. Origin

Bank has consented to the use of its cash collateral to pay the administrative expenses set forth in

the Budget and the Subsequent Budget. The Debtors have already made the disbursements to

Origin Bank required under the Sale Order and the Atlanta #2 Sale Order, and have retained the

Remaining Cash subject to the Budget, Subsequent Budget, and further order of the Court.

The Debtors are not aware of any claims that are senior to the administrative expenses set forth

in the Budget and the Subsequent Budget.12 Accordingly, the Debtors respectfully submit that

the disbursements set forth in Exhibit A are appropriate, consistent with the priority scheme of

the Bankruptcy Code, and should be approved by this Court. These disbursements include

additional payments of administrative expenses provided for under the Budget, as well as

payments to Origin Bank, the Office of the United Trustee for UST Fees, and professionals that

are estimated to be as follows: (i) $260,250 to Origin Bank, (ii) $50,000 for the UST Fees;

(iii) $15,500 to Omni; (iv) $60,000 to AGG and/or SWTW; (v) $27,500 to GGG, and (vi) $2,500

to S&W.13 The Debtors also seek authority to allow each respective estate professional to apply

the Retainers to outstanding fees and expenses of that professional in the amounts set

forth herein.



11
             See, supra, n. 2.
12
             Sales and use taxes are included in the Budget.
13
        That amounts identified in this paragraph for professionals are the amounts set forth in the Subsequent
Budget, and assume that professionals have been paid all amounts allocated in the Budget.

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             C. It is Appropriate to Excuse Estate Professionals from Filing Fee Applications
                Under the Circumstances of these Bankruptcy Cases.

             42.   As set forth above, estate professionals have already complied with the Interim

Compensation Procedures as to all payments for fees and expenses received to date. Requiring

estate professionals to file fee applications to validate the payment of those fees and expenses as

well as any remaining unpaid fees and expenses will be time consuming and very expensive.

Further, all professional fees in these Bankruptcy Cases have been paid out of the Carve-Out

from Origin Bank’s collateral. Thus, to the extent that the Court or any other party in interest

were to find an issue with any aspect of an estate professional’s fees and expenses, the

disallowance of such fees or expenses would inure to the benefit of Origin Bank, and not the

Debtors or their unsecured creditors. Based on the professional and efficient manner in which

these Bankruptcy Cases have been administered to date, Origin Bank has agreed that it is

appropriate to forego this layer of oversight, and counsel for Origin Bank has represented to

Debtors’ counsel that Origin Bank does not oppose the Debtors’ request to excuse estate

professionals from filing fee applications. Accordingly, the Debtors respectfully request that the

Court excuse all estate professionals from filing fee applications in these Bankruptcy Cases.

                                              NOTICE

             43.   Notice of this Motion will be provided to (a) the parties on the Master Service

List as approved by this Court’s Order Establishing Notice and Administrative Procedures

[Docket No. 33], and (b) all creditors and parties in interest on the creditor matrix in each of the

Debtors’ respective Bankruptcy Cases. In light of the nature of the relief requested in the

Motion, the Debtors submit that no further notice is necessary.

             WHEREFORE, the Debtors respectfully request that this Court enter an order

substantially in the same form as Exhibit A: (i) authorizing the Debtors to make the


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disbursements from the Remaining Cash as estimated and set forth in such proposed Order,

(ii) excusing estate professionals from the requirement of filing fee applications, (iii) dismissing

the Bankruptcy Cases, and (iii) granting the Debtors such other and further relief as is just

and proper.

             Respectfully submitted this 19th day of November 2019.

                                                ARNALL GOLDEN GREGORY LLP

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                                                Attorneys for Debtors and Debtors in Possession




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                                    EXHIBIT A


                               PROPOSED ORDER




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                   Debtors.                          )           Jointly Administered
                                                     )

    ORDER APPROVING DEBTORS’ MOTION TO DISMISS BANKRUPTCY CASES
       FOR CAUSE PURSUANT TO 11 U.S.C. § 1112(B) AND, IN CONNECTION
    THEREWITH, FOR AUTHORIZATION TO MAKE CERTAIN DISBURSEMENTS
                 AND TO EXCUSE ESTATE PROFESSIONALS
          FROM THE REQUIREMENT OF FILING FEE APPLICATIONS

             This matter is before the Court on Debtors’ Motion to Dismiss Bankruptcy Cases for

Cause Pursuant to 11 U.S.C. § 1112(b) and, in Connection Therewith, for Authorization to Make

Certain Disbursements and to Excuse Estate Professionals from the Requirement of Filing Fee




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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Applications [Docket No. ] (the “Motion”)2 filed by Eat Here Brands, LLC, Babalu Atlanta #1

LLC, Babalu Atlanta #1 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu

Memphis #2 LLC, Babalu, LLC, and Babalu Birmingham #1 LLC (collectively, the “Debtors”).

             The Court has considered the Motion and the entire record in these Bankruptcy Cases.

It appears that the Court has jurisdiction over the Motion and this proceeding; that this is a core

proceeding; that notice of the Motion has been given to the parties on the Master Service List as

approved by this Court’s Order Establishing Notice and Administrative Procedures

[Docket No. 33] and all creditors identified in the creditor matrix of each of the Debtors’

respective Bankruptcy Cases; that no further notice of the Motion is necessary; that the relief

sought in the Motion is in the best interests of the Debtors, their bankruptcy estates, and their

creditors; and that good and sufficient cause exists for such relief.

             Accordingly, it is hereby ORDERED as follows:

             1.            The Motion is GRANTED as set forth herein.

             2.            The Debtors are authorized and directed to make the following disbursements

from the Remaining Cash within two (2) business days of the entry of this Order:

             (a) $260,250 to Origin Bank;

             (b) $50,000 to the United States Trustee for the UST Fees;

             (c) $15,500 to Omni, but only to the extent that there are sufficient funds allocated in the
                 Budget and the Subsequent Budget to pay such amount;

             (d) $60,000 to AGG and/or SWTW, but only to the extent that there are sufficient funds
                 allocated in the Budget and the Subsequent Budget to pay such amount;

             (e) $27,500 to GGG, but only to the extent that there are sufficient funds allocated in the
                 Budget and the Subsequent Budget to pay such amount; and




2
             Any capitalized terms not defined in this Order shall have the meaning given to them in the Motion.

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             (f) $2,500 to S&W, but only to the extent that there are sufficient funds allocated in the
                 Budget and the Subsequent Budget to pay such amount.

             3.          The Debtors are authorized to disburse any of the Remaining Cash that is not

disbursed pursuant to paragraph 2 of this Order to pay any other post-petition obligations to

creditors or vendors, including professionals, but only to the extent that such obligations were

incurred in the ordinary course of business of the Debtors, and only to the extent that there are

sufficient funds allocated in the Budget and the Subsequent Budget to pay such obligations

(or upon express consent of Origin Bank to the extent any incurred post-petition obligations are

not allocated in the Budget or the Subsequent Budget).

             4.          Any Remaining Cash that is not disbursed pursuant to paragraphs 2 and 3 of

this Order shall be retained by the Debtors and may be utilized by the Debtors to dissolve the

Debtors and otherwise unwind their affairs pursuant to applicable non-bankruptcy law, but only

to the extent that there are sufficient funds allocated in the Subsequent Budget to pay such

obligations.       Any Remaining Cash not utilized in accordance with this paragraph shall be

disbursed to Origin Bank no later than five (5) business days of the formal dissolution of each of

the Debtors.

             5.          To the extent that there are insufficient funds allocated in the Budget and the

Subsequent Budget to make the disbursement to Omni that is authorized and directed under

paragraph 2 of this Order, Omni is authorized to apply the Omni Retainer to satisfy any such

unpaid amount.

             6.          To the extent that there are insufficient funds allocated in the Budget and the

Subsequent Budget to make the disbursement to AGG that is authorized and directed under

paragraph 2 of this Order, AGG is authorized to apply the AGG Retainer to satisfy any such

unpaid amount.


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             7.     To the extent that there are insufficient funds allocated in the Budget and the

Subsequent Budget to make the disbursement to GGG that is authorized and directed under

paragraph 2 of this Order, GGG is authorized to apply the GGG Retainer to satisfy any such

unpaid amount.

             8.     To the extent that there are insufficient funds allocated in the Budget and the

Subsequent Budget to make the disbursement to SWTW that is authorized and directed under

paragraph 2 of this Order, SWTW is authorized to apply the SWTW Retainer to satisfy any such

unpaid amount.

             9.     The Debtors and their professionals are excused from filing fee applications

in these Bankruptcy Cases.

             10.     The Committee and its professionals are excused from filing fee applications

in these Bankruptcy Cases.

             11.    Pursuant to 11 U.S.C. § 1112(b) and applicable law, the Bankruptcy Cases

are dismissed effective December 31, 2019.

             12.    The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.

             13.    Counsel for the Debtors is directed to serve or cause a copy of this Order to

be served on: (i) all parties on the Master Service List as approved by this Court’s Order

Establishing Notice and Administrative Procedures [Docket No. 33] and (ii) all creditors

identified in the creditor matrix of each of the Debtor’s Bankruptcy Cases, within three (3) days

of the entry of this Order and file a certificate of service with the Clerk of the Court.

                                    *** END OF ORDER ***




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Prepared and presented by:

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